        CASE 0:21-cr-00268-SRN-LIB Doc. 123 Filed 04/22/22 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,                             Case No. 21-CR-268(1) SRN/LIB

                      Plaintiff,

vs.                                                  DEFENDANT’S MOTION
                                                      FOR REVOCATION OF
Alexia Gah Gi Gay Mary Cutbank,                        DETENTION ORDER

                      Defendant.



       Defendant Alexia Gah Gi Gay Mary Cutbank (“Ms. Cutbank”) by and through her

undersigned attorney, respectfully moves the Court to revoke her detention order and

grant her release on appropriate conditions pending trial in her case. This motion is made

pursuant to 18 U.S.C. § 3145(b).

       1.     On December 9, 2021, Ms. Cutbank was charged with murder in the second

degree and assault with a dangerous weapon. ECF No. 1. The superseding indictment

added a third count of assault resulting in serious bodily injury. ECF No. 39.

       2.     On December 10, 2021 Ms. Cutbank’s made her initial appearance and the

government moved for temporary detention. ECF No. 8. This request was granted. Id.

       3.     On December 15, 2021, an arraignment and detention hearing was held.

ECF No. 17. No written order of detention followed.

       4.     On March 25, 2022, Ms. Cutbank filed a Motion for Release to Treatment.

ECF No. 108. The government opposed the motion. ECF No. 111.

       5.     On April 8, 2022, Ms. Cutbank’s detention hearing was reopened. ECF

No. 117. The court concluded by a preponderance of the evidence there existed no
            CASE 0:21-cr-00268-SRN-LIB Doc. 123 Filed 04/22/22 Page 2 of 2




combination of conditions that would reasonably assure Ms. Cutbank’s appearance for

court proceedings aside from continued detention. Accordingly, Ms. Cutbank’s motion

for release to inpatient treatment was denied. Id.

         6.       Pursuant to 18 U.S.C. § 3145(b), Ms. Cutbank requests that the District

Court revoke the detention order and grant her release under conditions that satisfy

18 U.S.C. § 3145(b) or (c).

         Said motion is based upon all of the files, arguments of counsel, and records in

this case and the attached memorandum.



Dated: April 22, 2022                               DORSEY & WHITNEY LLP


                                                    By s/ RJ Zayed
                                                        RJ Zayed (#0309849)
                                                        zayed.rj@dorsey.com
                                                    50 South Sixth Street, Suite 1500
                                                    Minneapolis, MN 55402
                                                    Telephone: (612) 340-2600
                                                    Facsimile: (612) 340-2868

                                                    Attorney for Defendant




                                                2
4881-0545-5901\
